                          Case 14-30583-lkg            Doc 5       Filed 04/10/14        Page 1 of 3
                                                                                                      Case Number 14−30583−lkg
                                 UNITED STATES BANKRUPTCY COURT
                                       Southern District of Illinois
 Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines
A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on 4/10/14. You may be a creditor of the debtor.
This notice lists important deadlines. You may want to consult an attorney to protect your rights. All documents filed in the
case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the bankruptcy clerk's
office cannot give legal advice.
            Creditors −− Do not file this notice in connection with any proof of claim you submit to the court.
                                       See Reverse Side For Important Explanations.
Debtor(s) name(s) and address:
Annette M Banks
fka Annette Maria McCorkle
1050 Nottinghill
Collinsville, IL 62234
Case Number:                                                      SSN/ITIN: xxx−xx−9629
14−30583−lkg
Attorney for Debtor(s) (name and address):                        Bankruptcy Trustee (name and address):
Morgan Teague                                                     Donald M. Samson
Licker Law Firm                                                   Chapter 7 Trustee
1861 Sherman Dr                                                   226 W Main St
St Charles, MO 63303                                              Suite 102
Telephone number: (636) 916−5400                                  Belleville, IL 62220
                                                                  Telephone number: (618) 235−2226

                                                Meeting of Creditors:
                      Date: May 30, 2014                                           Time: 10:30 AM
                                                      Location:
            US Trustee 341 Meeting Rm, Ground Floor Federal Building, 650 Missouri Ave, East St. Louis, IL 62201
                            Presumption of Abuse under 11 U.S.C. § 707(b)
                                     See "Presumption of Abuse" on the reverse side.
The presumption of abuse does not arise.

                                                         Deadlines
                      Papers must be received by the bankruptcy clerk's office by the following deadlines:

               Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of Certain Debts:
                                                            7/29/14
                                             Deadline to Object to Exemptions:
                               Thirty (30) days after the conclusion of the meeting of creditors.

                                  Creditors May Not Take Certain Actions
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor
and the debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the
debtor can request the court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the
Bankruptcy Code, you may be penalized. Consult a lawyer to determine your rights in this case.

                                                   Secured Creditors
Secured creditors claiming security interest in assets are hereby directed to forward to the trustee before said meeting a copy
of their security agreement with copies of supporting documents; i.e., UCC, vehicle titles, mortgages, etc., indicating the
balance owing.

                                        Creditor with a Foreign Address
 A creditor to whom this notice is sent at a foreign address should read the information under "Do Not File a Proof of Claim at
                                                  This Time" on the reverse side.

     Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.
Address of the Bankruptcy Clerk's Office:                                                 For the Court:
United States Bankruptcy Court                                    Clerk of the Bankruptcy Court:
750 Missouri Avenue                                               Donna N Beyersdorfer
East St. Louis, IL 62201
Telephone number: 618−482−9400
Hours Open: Monday − Friday 8:00 AM − 4:30 PM   Date: 4/11/14
SEVERE WEATHER OR HAZARDOUS ROAD CONDITIONS MAY NECESSITATE CANCELING SCHEDULED MEETINGS
       WHEN APPLICABLE, CONTACT THE TRUSTEE'S OFFICE AT (618) 235−2226 FOR STATUS OF MEETING.
                           Case 14-30583-lkg                  Doc 5         Filed 04/10/14             Page 2 of 3
Carrying of firearms is prohibited. Section 65 of the Illinois Firearm Concealed Carry Act prohibits a concealed carry license holder from carrying a
                           firearm on or into any building/property under the control of a federal government or the courts.
                          Case 14-30583-lkg             Doc 5       Filed 04/10/14         Page 3 of 3


                                                     EXPLANATIONS
                       DEBTOR IDENTIFICATION REQUIRED AT 341 MEETING. All debtors must bring two forms of
Debtor Instructions    identification: 1) a government issued photo ID (e.g. driver's license, passport); and 2) proof of debtor's
                       social security number. A driver's license does NOT qualify as proof of social security number. Failure
                       to do so may result in dismissal of your case.
                       Language interpretation of the meeting of creditors will be provided to the debtor at no cost, upon
                       request of the trustee, through a telephone interpreter service. These services may not be available at
                       all §341 meeting rooms.
Filing of Chapter 7    A bankruptcy case under chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed
Bankruptcy Case        in this court by or against the debtor(s) listed on the front side, and an order for relief has been entered.
                       Prohibited collection actions are listed in Bankruptcy Code §362. Common examples of prohibited
Creditors Generally    actions include contacting the debtor by telephone, mail or otherwise to demand repayment; taking
May Not Take           actions to collect money or obtain property from the debtor; repossessing the debtor's property; starting
Certain Actions        or continuing lawsuits or foreclosures; and garnishing or deducting from the debtor's wages. Under
                       certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can
                       request the court to extend or impose a stay.
                     A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor
Meeting of Creditors (both spouses in a joint case) must be present at the meeting to be questioned under oath by the trustee
                     and by creditors. Creditors are welcome to attend, but are not required to do so. The meeting may be
                     continued and concluded at a later date specified in a notice filed with the court.
                      There does not appear to be any property available to the trustee to pay creditors. You therefore should
                      not file a proof of claim at this time. If it later appears that assets are available to pay creditors, you will
Do Not File a Proof be sent another notice telling you that you may file a proof of claim, and telling you the deadline for filing
of Claim at This Time your proof of claim. If this notice is mailed to a creditor at a foreign address, the creditor may file a
                      motion requesting the court to extend the deadline.
                      Do not include this notice with any filing you make with the court.
                       The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that
                       you may never try to collect the debt from the debtor. If you believe that the debtor is not entitled to
                       receive a discharge under Bankruptcy Code §727(a) or that a debt owed to you is not dischargeable
Discharge of Debts     under Bankruptcy Code §523(a)(2), (4), or (6), you must file a complaint −− or a motion if you assert the
                       discharge should be denied under §727 (a)(8) or (a)(9) −− in the bankruptcy clerk's office by the
                       "Deadline to Object to Debtor's Discharge or to Challenge the Dischargeability of Certain Debts" listed
                       on the front of this form. The bankruptcy clerk's office must receive the complaint or motion and any
                       required filing fee by that deadline.
                       The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and
                       distributed to creditors. The debtor must file a list of all property claimed as exempt. You may inspect
                       that list at the bankruptcy clerk's office. If you believe that an exemption claimed by the debtor is not
Exempt Property        authorized by law, you may file an objection to that exemption. The bankruptcy clerk's office must
                       receive the objection by the "Deadline to Object to Exemptions" listed on the front side. In cases
                       converting to Chapter 7, review Federal Rules of Bankruptcy Procedure 1019(2)(B) for further
                       information regarding Objections to Exemptions.

Presumption of         If the presumption of abuse arises, creditors may have the right to file a motion to dismiss the case
Abuse                  under § 707(b) of the Bankruptcy Code. The debtor may rebut the presumption by showing special
                       circumstances.

Bankruptcy Clerk's     Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the
Office                 address listed on the front side. You may inspect all papers filed, including the list of the debtor's
                       property and debts and the list of the property claimed as exempt, at the bankruptcy clerk's office.
                       Copies of the Bankruptcy Petition and Schedules are available from the Clerk, U.S. Bankruptcy
                       Court at a cost of $0.50 per page. Please send your request along with a pre−addressed postage
                       paid envelope to the U.S. Bankruptcy Court at the address listed on the front side.

Legal Advice           The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your
                       rights in this case.
Liquidation of the     The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's property that is
Debtor's Property      not exempt. If the trustee can collect enough money, creditors may be paid some or all of the debts
and Payment of         owed to them, in the order specified by the Bankruptcy Code. To make sure you receive any share of
Creditors' Claims      that money, you must file a Proof of Claim, as described above.
Creditor with a        Consult a lawyer familar with United States bankruptcy law if you have any questions regarding your
Foreign Address        rights in this case.

Case Information       Continuous updated case information can be obtained by calling the courts' Voice Case Information
                       System (VCIS) at 1−866−222−8029.
                                −− Refer to Other Side for Important Deadlines and Notices −−
